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Exhibit F
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Int. Cl.: 39

Prior U.S. Cls.: 100 and 105
Reg. No. 2,480,325

United States Patent and Trademark Office Registered Aug. 21, 2001

SERVICE MARK
PRINCIPAL REGISTER

NORTHWEST AIRLINES VOICELINK

NORTHWEST AIRLINES, INC. (MINNESOTA OWNER OF US. REG. NOS. 1,616,090, 1,718,838,
CORPORATION) AND 1,721,791.

5101 NORTHWEST DRIVE oe ta Tae
NO CLAIM IS MADE EXCLUSIVE
ST. PAUL, MIN 551113034 RIGHT TO USE "AIRLINES", APART FROM THE

FOR: AIR TRANSPORTATION RESERVATION MASE. AS SHOWES:

SERVICES, IN CLASS 39 (U.S. CLS. 100 AND 105). SN 75-516,765, FILED 7-10-1998.

FIRST USE 10-1-1998; IN COMMERCE 10-1-1998. KEVON CHISOLM, EXAMINING ATTORNEY
